Case 20-11603 Doc1 Filed 02/07/20 Page 1 of 59

Fill in this information to identify your case:

    
    
     

United States Bankruptcy Court for the:
District of Maryland

Case number (f known): Chapter you are filing ie
Chapter7 .
CQ) Chapter 11

Tf Gos = 4 Wisi,
Official Form 101 TER por Oo] 362 Ya

Voluntary Petition for Individuals Filing for Bankruptcy 12117

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debfor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

| Part 4: | Identify Yourself

 

QQ Check if this is an
amended filing

 

 

 

 

 

 

 

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only In a Joint Case):
1. Your full name
Write the name that is on your brandon
government-issued picture . -
identification (for example, First name First name
your driver's license or lee
passport). Middle name Middle name
Bring your picture nance
identification to yourmeeting Last name Last name
with the trustee.
Suffix (Sr., Jr., II, IM) Suffix (Sr., Jr., I, Il)
2. All other names you b
have used in the last 8 First name Firstname
years lee
Include your married or Middle name Middle name
maiden names. nance
Last name Last name
brandon
First name First name
Middle name Middle name
lee
Last name Last name
3. Only the last 4 digits of
your Socia! Security mx - xx -_ 8 6 2 0 HK
number or federal OR OR
Individual Taxpayer
Identification number 9x - xe 9x - me -
(ITIN)

 

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

 
Debtor 1

Case 20-11603 Doc 1

Brandon Lee

Nance

 

First Name

Middle Name

Last Name

Case number (# mown)

Filed 02/07/20 Page 2 of 59

 

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last & years

Include trade names and
doing business as names

About Debtor 1:

Wf | have not used any business names or EINs.

About Debtor 2 (Spouse Only in a Joint Casa):

LJ} | have not used any business names or EINs.

 

Business name

Business name

 

Business name

EIN

EIN”

Business name

EIN”

EN

 

5. Where you live

4216 Pembroke Avenue

 

Number Street

 

If Debtor 2 lives at a different address:

 

Number Street

 

 

 

 

Baltimore MD 21207

City State ZIP Code City State ZIP Code
Baltimore County

County County

If your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State ZIP Code City State ZIP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

wi Over the last 180 days before filing this petition,
! have lived in this district longer than in any
other district.

L) | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

C) Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

J | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

 

 
Debtor 1

Brandon Lee

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Nance Case number (# known),

 

First Name

Middia Name

Last Name

ea Tell the Court About Your Bankruptcy Case

7.

The chapter of the
Bankruptcy Code you
are choosing to file
under

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

2 Chapter 7
(J Chapter 11
C) Chapter 12

 

 

 

 

 

 

 

 

 

LJ Chapter 13
8. How you will pay the fee LJ | will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.
C) I need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).
W | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.
9. Have you filed for W No
bankruptcy within the
last 8 years? UL Yes. District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
10. Are any bankruptcy W No
cases pending or being
filed by a spouse who is C] Yes. Debtor Relationship to you
not filing this case with District When Case number, if known
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
MM/DD/YYYY
11. Do you rent your CINo. Goto line 12.
residence? W Yes. Has your landlord obtained an eviction judgment against you?
WZ No. Go to line 12.
L) Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.
Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 3

 
 

Case 20-11603 Doc1 Filed 02/07/20 Page 4 of 59

Debtor 4 Brandon Lee Nance
First Name Middle Name: Last Name

Case number (# known)

 

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor WZ No. Go to Part 4.
of any full- or part-time
business? () Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

a corporation, partnership, or Sobor Sheet

 

Name of business, if any

 

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

 

 

City State ZIP Code

Check the appropriate box to describe your business:

L] Health Care Business (as defined in 11 U.S.C. § 101(27A))
L) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
L) Stockbroker (as defined in 11 U.S.C. § 101(53A))

C) Commodity Broker (as defined in 11 U.S.C. § 101(6))

C] None of the above

 

13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

debtor? 7 Bano. | am not filing under Chapter 11.

For a definition of smali

business debtor, see LJ No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankruptcy Code.

C) Yes. | am filing under Chapter 11 and | am a smail business debtor according to the definition in the
Bankruptcy Code.

Part a | Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Do you ownorhaveany (Jno
property that poses or is
alleged to pose a threat Q) Yes. What is the hazard?
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

 

 

If immediate attention is needed, why is it needed?

 

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4

 
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Debtor 4 Brandon Lee Nance
First Name Middle Name Last Name

Case number (# known)

 

 

| Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling

 

45. Tell the court whether About Debtor 1: About Debtor 2 (Spouse Only In a Joint Case):
you have received a
briefing about credit You must check one: You must check one:
counseling.

Wi I received a briefing from an approved credit CL) I received a briefing from an approved credit

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a

certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

J) I received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a

certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment

plan, if any.

Qh certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent

circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining

what efforts you made to obtain the briefing, why

you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.

You must file a certificate from the approved

agency, along with a copy of the payment plan you

developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum of 15
days.

CJ 1am not required to receive a briefing about
credit counseling because of:

) Incapacity. | have a mental illness or a mental

deficiency that makes me

incapable of realizing or making
rational decisions about finances.

) Disability. My physical disability causes me

to be unable to participate in a

briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

(J Active duty. | am currently on active military

duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a

motion for waiver of credit counseling with the court.

counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) I received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C1 | certify that I asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

CJ] iam not required to receive a briefing about

credit counseling because of:

L) Incapacity. 1 have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Q) Disability. | My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the intemet, even after |
reasonably tried to do so.

C) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy page 5
 

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Debtor 4 Brandon Lee Nance
First Name Middie Name Last Name

Case number (# known)

 

a Answer These Questions for Reporting Purposes

 

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

LJ No. Go to line 16b.
W Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debis are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

LL} No. Go to line 16c.
UL] Yas. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 77

Do you estimate that after
any exempt property is

LJ No. | am not filing under Chapter 7. Go to line 18.

W Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and Wi No
administrative expenses
are paid that funds will be CL) Yes
available for distribution
to unsecured creditors?
18. How many creditorsdo WW 1-49 Q) 1,000-5,000 UO 25,001-50,000
you estimate that you L) 50-99 L) 5,001-10,000 (] 50,001-100,000
owe? L) 100-199 LJ 10,001-25,000 LJ More than 100,000
L} 200-999
19. How much do you (2 $0-$50,000 L) $1,000,001-$10 million (J $500,000,001-$1 billion

estimate your assets to
be worth?

LJ $50,001-$100,000
LI $100,001-$500,000
©) $500,001-$1 million

LJ $10,000,001-$50 million
LJ $50,000,001-$100 million
L) $100,000,001-$500 million

CJ $1,000,000,001-$10 billion
CJ $10,000,000,001-$50 billion
CJ More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

laws Sign Below

For you

QO $0-$50,000

W $50,001-$100,000
L) $100,001-$500,000
L) $500,001-$1 million

2 $1,000,001-$10 million

LJ $10,000,001-$50 million
LJ $50,000,001-$100 million
(J $100,000,001-$500 million

LJ $500,000,001-$1 billion

L) $1,000,000,001-$10 billion
CL) $10,000,000,001-$50 billion
C) More than $50 billion

| have examined this petition, and | declare under penaity of perjury that the information provided is true and

correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

If no attomey represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection

with a bankruptcy case
18 U.S.C. §§ 152, 1

Executed on 01/22/2020

     

x

ult in fines up to $250,000, or imprisonment for up to 20 years, or both.
19, and 3571.

 

Signature of Debtor 2

Executed on
MM / DD /YYYY

MM / DD /YYYY

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy

page 6
 

Case 20-11603 Doc1 Filed 02/07/20 Page 7 of 59

 

 

 

Debtor 1 Brandon Lee Nance Case number (# mown),

First Name Middle Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

LJ No
W Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

CL) No
MW Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

MW No

L) Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an

   

 

 

 

 

 

 

attorney may me to lose my rights or property if ! do not properly handle the case.
x | x
Signature of Debtor 1 Signature of Debtor 2
Date 01/22/2020 Date
MM/DD /YYYY MM/ DD /YYYY
Contact phone 410-504-4863 Contact phone
Cell phone 443-204-7150 Cell phone
Email address brandonLnance@live.com Email address

 

 

 

 

ee

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 8
Case 20-11603 Doc1 Filed 02/07/20 Page 8 of 59

Fill in this information to identify your case:

Debtor 4 Brandon Lee Nance

First Name Middle Name

Debtor 2
(Spouse, if filing) First Name Middle Name

 

 

4 IQ) Check if this is an

Nyy amended filing

United States Bankruptcy Court for the: District of Maryland

     

Case number
(If known)

 

   

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out anew Summary and check the box at the top of this page.

Ean Summarize Your Assets

 

Your assets
Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)

 

 

1a. Copy line 55, Total real estate, from Schedule A/B........cccccccusssssovscenssssssevsvasssseseessscesansooesssnsssesesesesersneccarseneneasanensansass $ ___9.00
1b. Copy line 62, Total personal property, from Schedule A/B............ccccssccsssscsesssececsesecoveccsecssecssssessvessasessesasecesecensucssseceseeens $ 1000.00
1c. Copy line 63, Total of all property on Schedule A/B .........cccceccscsssssseesssssasssecasaeseesseesenseeueccatsantarsersrssassaesssassencesesensseeeeses 5 4000.00

 

 

 

Ee Summarize Your Liabilities

Your liabilities
Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D) 0.00
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D $C

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F $

67000.00

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .............cccccccsescseeesessseees +5 17500.00

 

 

 

 

 

 

Your total Ilabilities $ 84500.00

Ee Summarize Your Income and Expenses
4. Schedule |: Your Income (Official Form 1061) 0.00
Copy your combined monthly income from line 12 of Schedule | lasnsevasenaeeeesceeeeesdaeersessseesnsasesceessneeeeesdasernsanenetantes $n
5. Schedule J: Your Expenses (Official Form 106J) 1752.37
Copy your monthly expenses from line 22c of Schedule J .........cceccsccesessssssessensenceeseneseeecesecassusessnectestetscsssnsasessessssnsansensatece $e

 

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

 
Case 20-11603 Doc1 Filed 02/07/20 Page 9 of 59

Debtor 1 Brandon Lee Nance Case number (f known)
First Name Middle Name Last Name

 

 

Ey Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

LJ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

w Yes

 

7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

C) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

 

 

8. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 0.00

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F-

 

 

Total claim
2 From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) s___—«6 7000.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) $ 17500.00
Ye. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00

priority claims. (Copy line 6g.) as
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$
9g. Total. Add lines 9a through Sf. $ 84500.00

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

 
Case 20-11603 Doc 1

Fill in this information to identify your case and this filing:

BRANDON LEE NANCE

Mkidie Name

Debtor 1

 

First Name

Debtor 2
(Spouse, if filing) First Name

 

Middle Name

United States Bankruptcy Court for the: District of Maryland

Case number

 

 

 

Official Form 106A/B
Schedule A/B: Property

 

 

 

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0) Check if this is an
amended filing

12/15

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, Iist the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

ia Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

wi No. Go to Part 2.

Cd Yes. Where is the property?
What is the property? Check ail that apply.

QO Single-family home

C) Duplex or multi-unit building

C2 Condominium or cooperative
(2 Manufactured or mobile home
O) Lana

C) investment property

C2 Timeshare

QC) other

1.1.
Street address, if available, or other description

 

 

 

State ZIP Code

City

 

Who has an interest in the property? Check one.

C] Debtor 1 only

C) Debtor 2 only

C) Debtor 1 and Debtor 2 only

() At least one of the debtors and another

 

County

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?-;
$ $

Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

CJ Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

If you own or have more than one, list here:

What is the property? Check all that apply.
Q Single-family home

QO Duplex or multi-unit building

O) Condominium or cooperative

(CJ Manufactured or mobile home

C) Lana

C2 investment property

C2 Timeshare

(2 other

Who has an interest in the property? Check one.
CI Debtor 4 only

C2) Debtor 2 only

O) Debtor 1 and Debtor 2 only

C0 At least one of the debtors and another

1.2.
Street address, if available, or other description

 

 

 

City State ZIP Code

 

 

County

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the .

entire property? portion you own?
$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

CI Check if this Is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

Official Form 106A/B Schedule A/B: Property

page 1
Debtor 1

BRANDON LEE NANGE=O- 11608 Doc 1

 

First Name Middie Name

1.3.

Last Name

 

Street address, if available, or other description

 

 

 

What is the property? Check all that apply.
QO Single-family home

Q Duplex or multi-unit building

U) Condominium or cooperative

 

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Case number (if known)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

 

 

 

 

(J Manufactured or mobile home entire property? portion you own?
O) Lana $ §
C) investment property
- ‘ Describe the nature of your ownership
Cc State ZIP Cod
ty ° ° 0 Timeshare interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
C) Debtor 1 onty
County Q) Debtor 2 only
(J Debtor 1 and Debtor 2 only Q Check If this Is community property
(CI At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $
you have attached for Part 1. Write that mumber here. .............:.::cccessscescecesceecerescserseeeceererceereeeeseneensaeeneanseeseneees >

Er Describe Your Vehicles

 

 

 

- Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

' 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

| No
C) Yes

3.1. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

If you own or have more than one, describe here:

3.2. Make:
Model:
Year.
Approximate mileage:

Other information:

 

 

 

 

Official Form 106A/B

Who has an interest in the property? Check one.

C) pebtor 1 only

U) Debtor 2 only

C) Debtor 4 and Debtor 2 only

() At least one of the debtors and another

C) check if this Is community property (see
instructions)

Who has an interest in the property? Check one.
C) Debtor 1 only

C] Debtor 2 only

Q] Debtor 1 and Debtor 2 only

0 At least one of the debtors and another

C2) Check if this Is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current vaiue of the
entire property? portion you own?

page 2
Debtor1 4 BRANDON LEE Gage Zzo-11603 Doc 1

 

First Name Middle Name

3.3. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

3.4. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Who has an interest in the property? Check one.

CJ Debtor 1 only

C) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

Q Atleast one of the debtors and another

Q) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

Q Debtor 1 only

O) Debtor 2 only

(C) Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

(I Check if this is community property (see
instructions)

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Case number (if known)

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4, Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

wi No
( Yes

4.1, Make:
Model:
Year:

Other information:

 

 

 

 

If you own or have more than one, list here:

4.2, Make:
Model:

Year:

 

 

 

 

Who has an interest in the property? Check one.
Q) Debtor 1 only

C) Debtor 2 only

CI Debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

Cd Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
C) Debtor 4 only

C) Debtor 2 only
Q] Debtor 1 and Debtor 2 only

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the ©

entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the :

 

. oe entire pro ortion you own?
Other information: (2 At least one of the debtors and another property? P y
(J Check if this is community property (see s $
instructions)
' 5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages 0.00
you have attached for Part 2. Write that mumber Mere 00... cccccccsscssssssscssssessssssesssssseesosssecsssuecsssseesssuseassvecsenuceesceuteceeutessenescersaees > | —_—

Official Form 106A/B

 

Schedule AJB: Property

 

page 3
 

BRANDON LEE NANGEO- 11603 Doc Filed 02/07/20 Page 13 of 59

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Case number (i known)
First Name Middle Name Last Name
Ee Describe Your Personal and Household items
Do you own or have any legal or equitable interest in any of the following items? portion you own?
Do not deduct secured claims
or exemptions.
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
0) No
MW Yes. Describe......... SOFA, BEDROOM SET $ 350.00
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
C No
MW Yes. Describe.......... 1 TELEVSION $ 150.00
8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
MW No
C) Yes. Describe.......... $
9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
MW No
C2 Yes. Describe.......... $
. 10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
Wi No
QO) Yes. Describe.......... $
11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
CJ No
Ad Yes. Describe.......... EVERYDAY CLOTHES $ 500.00 ©
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
i No
Q] Yes. Describe.......... $
13.Non-farm animals
Examples: Dogs, cats, birds, horses
MW No
(2 Yes. Describe.......... $
14. Any other personal and household items you did not already list, Including any health aids you did not list
Wd No
C) Yes. Give specific $
information. ............
45, Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ 1000.00
for Part 3. Write that number here 0... cccccssssssssessssecssessssesssssescuseccsscecsutessussssussssssessusasessnsecerasessauesseutersusssasesseasennsessanerseeees >

 

 

 

Official Form 106A/B Schedule AJB: Property page 4
nettrt BRANDON LEE NANGEO-11608 Doc 1

 

 

First Name

Middle Name Last Name

a Describe Your Financial Assets

 

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions.
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
W No
QO VES oes cecscscscssessessnescosssessevesceeseescousesescesusususssessesssaanseessasevesscecscnsosvosouscnssaasacstatasatscessssserecsseressavatacsacavavasssessess Cash: oo.ccccccccccccccecese $
17.Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
Wl No
CD Yes. Institution name:
17.1. Checking account: $
17.2. Checking account: $
17.3. Savings account: $
17.4. Savings account: $
17.5. Certificates of deposit: $
17.6. Other financial account: $
17.7. Other financial account: $
17.8. Other financial account: $
17.9. Other financial account: $
18.Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
wa No
OD Yesw Institution or issuer name:
$
$
$
19. Non-publicly traded stock and interests in Incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
Wi No Name of entity: % of ownership:
C) Yes. Give specific 0% % $
information about 0%
CT ° % $
0% % $

Official Form 106A/B

 

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Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule AJB: Property

page 5
 

BRANDON LEE NANGRO-11603 Doct Filed 02/07/20 Page 15 of 59

Debtor 1 Case number (if known)

 

First Name Middle Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable Instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

Wi No

C) Yes. Give specific Issuer name:
information about

 

 

 

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

WI No
CQ) Yes. List each
account separately. Type of account: Institution name:
401(k) or similar plan: $
Pension plan: $.
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
» 22.Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications

companies, or others

W No

CD Ve ooiceececeecsesetecen Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented fumiture: $
Other: $

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
Wi No
CD Ves. ccccccscccsceceseee Issuer name and description:
$
$

 

Official Form 106A/B Schedule A/B: Property page 6

 

 
 

BRANDON LEE NANG@EO-11603 Doc Filed 02/07/20 Page 16 of 59

Debtor 1 Case number (if known)

 

First Name Middle Name Last Name

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

Wi No
ee

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

WI No

CD Yes. Give specific
information about them.... $

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

Wi No

C) Yes. Give specific
information about them.... $

 

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

Wi No

C) Yes. Give specific
information about them.... $

 

 

 

 

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you

Wi No

CJ Yes. Give specific information
about them, including whether
you already filed the returns State:
and the tax years. «0.0.0...

 

Federal: $

Local: $

 

 

 

- 29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

Wi No

C] Yes. Give specific information..............

 

Alimony:
Maintenance:
Support:

Divorce settlement:
Property settlement:

AA Pf Ff H

 

 

 

' 30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
Wi No

C) Yes. Give specific information...............

 

 

 

 

Official Form 106A/B Schedule AJB: Property page 7

 
 

BRANDON LEE NANGEO-11603 Doct Filed 02/07/20 Page 17 of 59

Debtor 1 Case number (if known)

 

First Name Middle Name Last Name

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

Wi No

LI Yes. Name the insurance company — Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

$

 

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

Wi No
C) Yes. Give specific information..............

 

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

i No
CJ Yes. Describe each claim...

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

Wi No:
LJ Yes. Describe each claim...

 

 

 

 

35. Any financial assets you did not already list
i No

Q Yes. Give specific information............

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached 0.00
for Part 4. Write that number here occ. eccccccscssccscseeesesseeseseeneens sesseeeseneesssssessutenssien > $ :

 

 

 

| Parts: Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
W No. Go to Part 6.
OQ) Yes. Go to line 38.

Current value of the

 

portion you own? :
Do not deduct secured claims
or exemptions. i
38. Accounts receivable or commissions you already earned
CJ No
C] Yes. Describe....... s

 

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

QO No
O) Yes. Describe....... s

 

 

 

Official Form 106A/B Schedule A/B: Property page 8

 
BRANDON LEE GAEL O-1 1603 Doc1 Filed 02/07/20 Page 18 of 59

Debtor 1 Case number (i known)

 

First Name Middie Name Last Name

40.Machinery, fixtures, equipment, supplies you use In business, and tools of your trade

 

 

 

 

UL] No

CJ Yes. Describe....... 5
41.Inventory

LJ No

() Yes. Describe....... $

 

 

42. Interests in partnerships or joint ventures

( No
U] Yes. Describe....... Name of entity:

 

 

 

 

% of ownership:
%
%
%
43. Customer lists, mailing lists, or other compilations
C No
C) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
LI No
CQ) Yes. Deseribe........

 

 

 

44. Any business-related property you did not already list
0 No

Cl Yes. Give specific
information .........

 

 

 

 

 

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part 5. Write that number here .......... eee

 

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

 

- 46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
No. Go to Part 7.
QO) Yes. Go to line 47.

 

 

Current value of the
portion you own?
Do not deduct secured claims -
or exemptions.
47. Farm animals

Examples: Livestock, poultry, farm-raised fish

Q? No

Se

$

 

 

 

Official Form 106A/B Schedule A/B: Property page 9
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Case number (known)

bebtor1 BRANDON LEE GaAnee0-11603 Doc 1

First Name Middle Name Last Name

 

48. Crops—either growing or harvested

UL No

C] Yes. Give specific
information.............. $

 

 

 

49.Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

C No

 

 

 

 

 

 

 

 

51. Any farm- and commercial fishing-related property you did not already list
No

QC) Yes. Give specific
information............. $

 

 

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
for Part 6. Write that mumber Mere ...........cccscccessssssssssssssssssscseecccscsseecsesssssussussssssssssssvesssnsensnssensceacsecesssssetunsusnvansasssenssscsseesessessee >

 

 

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

_ 53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

Wi No
O) Yes. Give specific

 

information............. $

 

 

 

 

. 54. Add the dollar value of all of your entries from Part 7. Write that mumber here 0..............cccccsccscsessessssssssessersssssseevessossesss >

 

 

 

List the Totals of Each Part of this Form

 

55.Part 1: Total real estate, We 2 oo... cccsccscscccsssssssssssessssessnssssesssssesssssessssueessssssenssuussessveesesasecssuesassuacerssenseersustssssesstessnasesansecsesnsseessees > §

" 56. Part 2: Total vehicles, line 5 $

57. Part 3: Total personal and household items, line 15 $ 1000.00

58. Part 4: Total financial assets, line 36 $ 0.00

59. Part 5: Total business-related property, line 45 $ 0.00

60. Part 6: Total farm- and fishing-related property, line 52 $. 0.00

61.Part 7: Total other property not listed, line 54 +S 0.00

1000.00

 

- 62. Total personal property. Add lines 56 through 61. ...................

Se

Copy personal property total 3 FS$

 

 

 

0.00

1000.00

 

63. Total of all property on Schedule A/B. Add line 55 + line 62.00.00... cccccesssssessesescsssesseesesaccceescescseceseusacsvenceasssavavausnaes $

 

1000.00

 

 

Official Form 106A/B Schedule A/B: Property

page 10

 
Case 20-11603 Doc1 Filed 02/07/20 Page 20 of 59

Fill in this information to identify your case:

BRANDON LEE NANCE

First Name Middle Name

Debtor 1

 

Debtor 2
(Spouse, ff filing) First Name Middle Name

 

United States Bankruptcy Court for the: District of Maryland

Case number LI Check if this is an
{if known) amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptlons—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

4 You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
QO) You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and lineon Current value ofthe |§ Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Brief
description:  Sofa.bedroomset____ $350.00 Wi ¢ 350.00
Line from (2 100% of fair market value, up to
Schedule A/B: © any applicable statutory limit
Brief i
description: television $ 150.00 Wi gs 150.00
Line from C) 100% of fair market value, up to
Schedule A/B: i___ any applicable statutory limit
Brief
description: everyday clothes $500.00 Wi s 500.00
Line from C2 100% of fair market value, up to
Schedule A/B: 11 any applicable statutory limit

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

UW No

(J Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

C2 No
OQ) yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2
Case 20-11603 Doc 1

Debtor 1 BRANDON LEE NANCE

 

Firat Name Middle Name Last Name

Additional Page

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:
Line from
Schedule A/B:
Brief
description:
Line from
Schedule A/B: ————

Brief

description:

Line from

Schedule A/B: ~~

Brief

description:

Line from

Schedule A/B:

Brief

description:

Line from

Schedule A/B: ————

Brief
description:
Line from
Schedule A/B: ~—__

Brief
description:
Line from
Schedule A/B:
Brief
description:

Line from
Schedule A/B: ————

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B: ——

Brief
description:

Line from
Schedule A/B:

Official Form 106C

portion you own

Copy the value from

Schedule A/B

$

Current value of the

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Case number (if known)

Amount of the exemption you claim

Check only one box for each exemption

Os

C2 100% of fair market value, up to
any applicable statutory limit

Os

C) 100% of fair market value, up to
any applicable statutory limit

is

C) 100% of fair market value, up to
any applicable statutory limit

Os

C) 100% of fair market value, up to
any applicable statutory limit

Os

C) 100% of fair market value, up to
any applicable statutory limit

Os

C) 100% of fair market value, up to
any applicable statutory limit

Os

C) 100% of fair market value, up to
any applicable statutory limit

Os

C2 100% of fair market value, up to
any applicable statutory limit

Os

C) 100% of fair market value, up to
any applicable statutory limit

Os
©) 100% of fair market value, up to
any applicable statutory limit

Os

C] 100% of fair market value, up to
any applicable statutory limit

Og

CI 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

 

Specific laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

page 2_ of 2_
Case 20-11603 Doc1 Filed 02/07/20 Page 22 of 59

Fill in this information to identify your case:

Debtor 1 BRANDON LEE NANCE

First Name Middle Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name

 

United States Bankruptcy Court for the: District of Maryland

Case number

 

 

(If known)

 

Official Form 106D

 

LJ Check if this is an
amended filing

Schedule D: Creditors Who Have Claims Secured by Property 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

Hi No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
J Yes. Fill in all of the information below.

iho List All Secured Claims

 

 

  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amo inte yo
for each claim. If more than one creditor has a particular claim, list the other creditors in Part2. 4, a
As much as possible, list the claims in alphabetical order according to the creditor's name. Be

[2.4] Describe the property that secures the claim: $ $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
C) contingent
O) unliquidated
City State ZIP Code O disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C) Debtor 1 onty C) An agreement you made (such as mortgage or secured
() Debtor 2 only car loan)
(2 Debtor 1 and Debtor 2 only (J Statutory lien (such as tax lien, mechanic's lien)
2 Atleast one of the debtors and another 2 Judgment lien from a lawsuit
C) other {including a right to offset)
C) Check If this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number —
L2.2 Describe the property that secures the claim: $ $
Creditor’s Name
Number Street
As of the date you file, the claim Is: Check all that apply.
oO Contingent
C2 Unliquidated
City State ZIP Code Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C) Debtor 1 onty C) An agreement you made (such as mortgage or secured
(J Debtor 2 only car loan)
(J Debtor 4 and Debtor 2 only 1 Statutory llen (such as tax lien, mechanic's lien)
CI Atleast one of the debtors and another (2 Judgment lien from a lawsuit
C2 other (including a right to offset)
() Check if this claim relates to a
community debt
Date debt was incurred Last4 digits ofaccountnumber
Add the dollar value of your entries in Column A on this page. Write that number here: _——
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property pagelof___

 
Case 20-11603 Doc 1
BRANDON LEE NANCE

Filed 02/07/20 Page 23 of 59

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Case number (7 known)
First Name Middle Name Last Name
Additional Page
After listing any entries on this page, number them beginning with 2.3, followed
by 2.4, and so forth.
Describe the property that secures the claim: $ $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
O Contingent
Cty State ZIP Code OQ) unliquidated
Q) Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C2 Debtor 4 only (J An agreement you made (such as mortgage or secured
(2 Debtor 2 only car loan)
(J Debtor 1 and Debtor 2 only C1 Statutory lien (such as tax lien, mechanic's lien)
U Atleast one of the debtors and another C2 Judgment lien from a lawsuit
(2 Other (including a right to offset)
UL) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of accountnumber—
L_| Describe the property that secures the claim: $ $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
Q] unliquidated
City State ZIP Code O bisputea
Who owes the debt? Check one. Nature of lien. Check all that apply.
CY Debtor 1 only C2 An agreement you made (such as mortgage or secured
QO) Debtor 2 only car loan)
(2 Debtor 1 and Debtor 2 only (2 Statutory lien (such as tax lien, mechanic's lien)
0 Atleast one of the debtors and another () Judgment lien from a lawsuit
O Cheek if this claim relates to a C1 Other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of accountnumber
L_| Describe the property that secures the claim: $ $
Creditors Name
Number Street
As of the date you file, the claim Is: Check all that apply.
C) Contingent
City Slate ZIP Code U) Unliquidated
QO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
(Debtor 4 only () An agreement you made (such as mortgage or secured
( Debtor 2 only car loan)
© Debtor 1 and Debtor 2 only CI Statutory lien (such as tax lien, mechanic's lien)
O Atleast one of the debtors and another (Judgment lien from a lawsuit
C) other {including a right to offset)
U] Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of accountnumber_— |
Add the dollar value of your entries In Column A on this page. Write that number here: i¢ |
If this is the last page of your form, add the dollar value totals from all pages. )
__... Write that number here: s

 

 

Official Form 106D

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page
 

Case 20-11603 Doc1 Filed 02/07/20 Page 24 of 59
Debtor 1 BRANDON LEE NANCE Case number (i known),

First Name Middle Name Last Name

 

 

List Others to Be Notified for a Debt That You Already Listed

 

_ Use this page only If you have others to be notified about your bankruptcy for a debt that you already ilsted in Part 1. For example, if a collection

_ agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
_ you have more than one creditor for any of the debts that you listed In Part 1, list the additional creditors here. If you do not have additional persons to

_ be notified for any debts in Part 1, do not fill out or submit this page.

O On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number ___

 

 

Number Street

 

 

City State ZIP Code

 

|_| On which line in Part 1 did you enter the creditor?

 

Name Last 4 digits of account number ___

 

Number Street

 

 

City State ZIP Code

 

[| On which line in Part 1 did you enter the creditor?

 

Name Last 4 digits of account number ___

 

Number Street

 

 

City State ZIP Code

 

 

[| On which line in Part 1 did you enter the creditor?

 

Name Last 4 digits of account number ___

 

Number Street

 

 

City State ZIP Code

 

|_| On which line in Part 1 did you enter the creditor?

 

Name Last 4 digits of account number ___

 

Number Street

 

 

City State ZIP Code

 

| On which line in Part 1 did you enter the creditor?

 

Name Last 4 digits of account number

 

Number Street

 

 

 

 

City State ZIP Code

Official Form 106D Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page__ of
Page 25 of 59

Fillin this information to identify your case:

BRANDON LEE NANCE

Middle Name

Debtor 1

 

First Name

Debtor 2
(Spouse, if filing) First Name

 

Middle Name

United States Bankruptcy Court for the: District of Maryland

CU] Check if this is an

Case number amended filing

(lf known)

 

 

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule

A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed In Schedule D: Creditors Who Have Claims Secured by Property. If more space Is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

| Part 4: | List All of Your PRIORITY Unsecured Claims

4

 

Do any creditors have priority unsecured claims against you?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

pageilof

LJ No. Go to Part 2.
QC) ves.
_ 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
: each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
2-1 | Internal Revenue Service Last 4 digits of account number 8 6 2 0 $ _40000.00s 40000.00s 0.00
Priority Creditor’s Name
Department of the Treasury When was the debt incurred? 2007
Number Street
As of the date you file, the claim is: Check ali that apply.
Ogden ut 84201 Wl contingent
City State ZIP Code
CD unliquidated
Who incurred the debt? Check one. QO ois puted
W Debtor 1 only
OQ) Debtor 2 only Type of PRIORITY unsecured claim:
0 Debtor 1 and Debtor 2 only C) Domestic support obligations
At least one of the debtors and another a Taxes and certain other debts you owe the government
() Check if this claim is for a community debt O) Claims for death or personal injury while you were
is the claim subject to offset? intoxicated
UO no C) other. Specify
C) Yes
2.2 | Maryland Comptroller Last 4 digits of accountnumber 8 6 2 0 ¢ 27000.00 , 27000.00, 0.00
Priority Creditor’s Name
Revenue Administration Division When was the debt incurred? 2007
Number Street
110 Carroll Street As of the date you file, the claim is: Check all that apply.
annapolis md 21414 SH contingent
City State ZIP Code Q) untiquidated
Who incurred the debt? Check one. C1 Disputed
a etn only Type of PRIORITY unsecured claim:
oO Debts 1 oy Debtor 2 only UC) Domestic support obligations
Cd At least one of the debtors and another wf Taxes and certain other debts you owe the government
(2 Check if this claim is for a community debt u mais for death or personal injury while you were
{s the claim subject to offset? Q) other. Specify
w No
QQ Yes

 
pebtr! BRANDON LEE NANGE20-11603 Doc 1 Filed 02/07/20... Rage.26, of 59

 

First Name Middle Name Last Name

 

Em Your PRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(2 Debtor 1 only

(2) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

QO) Check if this claim is for a community debt

Is the claim subject to offset?

(C2 No
OC) Yes

 

 

Type of PRIORITY unsecured claim:

( Domestic support obligations
(J Taxes and certain other debts you owe the government

2 claims for death or personal injury while you were
intoxicated

- Nonpriority
: Last4 digits ofaccountnumber_ ts $
Priority Craditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
City State ZIP Code C) unliquidated
C) Disputed
Who incurred the debt? Check one.
C) Debtor 4 only Type of PRIORITY unsecured claim:
U1 Debtor 2 only QO) Domestic support obligations
QO) Debtor 1 and Debtor 2 only
O ati rth bt 7 the (2) Taxes and certain other debts you owe the government
At least one of the debtors and another Q Claims for death or personal injury while you were
O Check if this claim is for a community debt intoxicated
(J other. Specify
Is the claim subject to offset?
No
0) Yes
Last4 digits ofaccountmumber $ §
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
C0) Contingent
City State ZIP Code O) Unliquidatea
Q Disputed
Who incurred the debt? Check one.
) Debtor 4 onty Type of PRIORITY unsecured claim:
U1 Debtor 2 only C Domestic support obligations
C) Debtor 1 and Debtor 2 only .
Dats f th ' dancthe 2 Taxes and certain other debts you owe the government
t least one of the debtors and another OQ) Claims for death or personal injury while you were
CQ] Check if this claim is for a community debt intoxicated
C) other. Specify
Is the claim subject to offset?
UL No
Q yes
Last4 digits ofaccountnumber tsi $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
C2 Contingent
City State ZIP Code 2 unliquidated
U Disputed
Who incurred the debt? Check one.

 

C2 other. Specify

 

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

page of

 

 

 
BRANDON LEE QANGBO0-11603 Doc 1

First Name Middle Name Last Name

Debtor 1

Ee List All of Your NONPRIORITY Unsecured Claims

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3. Do any creditors have nonpriority unsecured claims against you?

Yes

claims fill out the Continuation Page of Part 2.

ka] NAVIENT

 

 

 

1) No. You have nothing to report in this part. Submit this form to the court with your other schedules.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each clalm. if a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

Last 4 digits of account number ___

 

17500.00

 

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

(J Debtor 1 only

() Debtor 2 only

() Debtor 1 and Debtor 2 only

(2 At least one of the debtors and another

(0) Check if this claim is for a community debt

Is the claim subject to offset?
(2 No
C) ves

 

Nonpriority Creditor's Name
When was the debt incurred?
Number Street
City State ZIP Cade As of the date you file, the claim is: Check all that apply.
Q Contingent
Who incurred the debt? Check one. CD Untiquidatea
W Debtor 1 only C2 Disputed
U Debtor 2 only
(2 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(C2) At least one of the debtors and another wy Student loans
QO Check if this claim is fer a community debt Q Obligations arising out of a separation agreement or divorce
that you did not report as priority cdaims
Is the claim subject to offset? O Debts to pension or profit-sharing plans, and other similar debts
W no Q) other. Specify
U) Yes
2 Last 4 digits of accountnumber
Nonpriority Creditor’s Name When was the debt incurred?
Number Street
As of the date you file, the claim is: Check ail that apply.
City State ZIP Code OQ Contingent
Who incurred the debt? Check one. OQ) unliquidated
C) Debtor 1 only q Disputed
O) Debtor 2 only
O] Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C) At least one of the debtors and another (1) Student loans
QO QO Obligations arising out of a separation agreement or divorce
Check If this claim !s for a community debt that you did not report as priority claims
Is the claim subject to offset? (J Debts to pension or profit-sharing plans, and other similar debts
O) No C] Other. Specify
QC) Yes
4.3
Last 4digits ofaccountnumber
Nonpriority Creditor's Name .
When was the debt incurred?
Number Street
Cy Sune ZIP Code As of the date you file, the claim is: Check all that apply.

C) Contingent
QO) unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

C) Student loans

O Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Q) Debts to pension or profit-sharing plans, and other similar debts

QO other. Specify

 

 

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

of

page __

 
Debtor’ BRANDON LEE NaNeGRO0-11603 Doc 1

 

First Name

Middle Name

Last Name

Filed 02/07/20... Page 28 of 59

 

 

ea Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

Last 4 digits ofaccountnumber $
Nonpriority Creditors Name
When was the debt incurred?
Number Street
umner As of the date you file, the claim is: Check all that apply.
City State ZIP Code O Contingent
) Untiquidated
Who incurred the debt? Check one. QO pis puted
Q Debtor 1 only
(2 Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only O) student loans
At least one of the debtors and another (2 Obligations arising out of a separation agreement or divorce that
Q) Check if this claim is for a community debt you did not report as priority claims _.
C2 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? QC) other. Specify
No
C) Yes
Last4 digits ofaccountnumber $
Nonpriority Creditor's Name
When was the debt incurred?
Numbe: Street
mer ° As of the date you file, the claim is: Check all that apply.
City State ZIP Code C) Contingent
2 unliquidated
Who incurred the debt? Check one. CO bisputed
() Debtor 1 only
C2 Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O stuaent loans
At least one of the debtors and another () Obligations arising out of a separation agreement or divorce that
QO) Check if this claim is for a community debt you did not report as priority claims _
C) Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? U2 Other. Specify
C) No
CQ ves
_ $
Last4 digits ofaccountnumber
Nonpriority Creditors Name
When was the debt incurred?
Numbe: Street
“er As of the date you file, the claim is: Check all that apply.
City State ZIP Code Q Contingent

C) Debtor 1 only
C) Debtor 2 only

C) No
C) Yes

 

Who incurred the debt? Check one.

U) Debtor 1 and Debtor 2 only
C1 At least one of the debtors and another

Q) Check if this claim is for a community debt
Is the claim subject to offset?

C) unliquidated
(2 Disputed

Type of NONPRIORITY unsecured claim:

C2 Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

OQ) Debts to pension or profit-sharing plans, and other similar debts

CJ Other. Specify

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page__of__

 
 

nestor: BRANDON LEE MANGBO-11603 Doc1 Filed 02/07/2Q,,. Pags,29, of 59

First Name Middle Name Last Name

 

 

| Part 3 | List Others to Be Notified About a Debt That You Already Listed

 

_ §. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

: example, if a collection agency Is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): C) Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street C] Part 2: Creditors with Nonpriority Unsecured
Claims
Last4 digits ofaccountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): UO) Part 1: Creditors with Priority Unsecured Claims
Number Street Q Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street QO) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number __ _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last4digitsofaccountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): () Part 1: Creditors with Priority Unsecured Claims
Number Street QO) Part 2: Creditors with Nonpriority Unsecured
Claims
Last4 digits ofaccountnumber_
City State ZIP Code
Na On which entry in Part 1 or Part 2 did you list the original creditor?
me
Line of (Check one): U1 Part 1: Creditors with Priority Unsecured Claims
Ni Si
lumber treet Part 2: Creditors with Nonpriority Unsecured
Claims
City Sate FIP Code Last 4 digits of account number ___ _

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page __ of

 
 

Debtrr1 BRANDON LEE WANGE0-11603 Doc Filed 02/07/20... Rags a0, of 59

First Name Middle Name Last Name

Ea Add the Amounts for Each Type of Unsecured Claim

_ 6 Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

 

 

 

 

 

 

 

Total claim
: Total claims 6a. Domestic support obligations 6a. $ 0.00
_ from Part 1 6b. Taxes and certain other debts you owe the
government 6b. ¢ 67000.00
6c. Claims for death or personal injury while you were
Intoxicated 6c. $ 0.00
6d. Other. Add ail other priority unsecured claims.
Write that amount here. 6d. +¢ 0.00
6e. Total. Add lines 6a through 6d. 6e.
3 ; 67000.00
Total claim
Total claims © Student loans 6f. 5 17500.00
from Part 2 6g. Obligations arising out of a separation agreement
or divorce that you did not report as priority 0.00
clalms 6g. $ :
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. 0.00
6i. Other. Add all other nonpriority unsecured claims.
Write that amount here. 6. Fs 0.00
6j. Total. Add lines 6f through 6i. Gj. ; 17500.00

 

 

 

 

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page _ of
 

Case 20-11603 Doc1 Filed 02/07/20 Page 31 of 59

Fill in this information to identify your case:

Debtor BRANDON LEE NANCE

First Name Middle Name Last Name

 

Debtor 2
(Spouse If filing) First Name Middle Name

 

United States Bankruptcy Court for the: District of Maryland

C be
know) LI} Check if this is an

 

 

 

amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do you have any executory contracts or unexpired leases?
Qd No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
Q) Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for

example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

 

 

Name

 

Number Street

 

City State ZIP Code

 

22

 

Name

 

Number Street

 

City State ZIP Code
23

 

Name

 

Number Street

 

City State ZIP Code
24

. Name

 

 

Number Street

 

City State ZIP Code
25

” Name

 

 

 

Number Street

 

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page iof__

 
 

Case 20-11603 Doc1 Filed 02/07/20 Page 32 of 59
BRANDON LEE NANCE

First Name Middle Name Last Name

Debtor 1 Case number (if known),

 

a Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease What the contract or lease is for

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code

 

.N
—

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State _ZIP Code

 

 

Name

 

Number Street

 

 

City State ZIP Code

 

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page of
Case 20-11603 Doc1 Filed 02/07/20 Page 33 of 59

Fill in this information to identify your case:

 

Debtor 4 BRANDON LEE NANCE

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name

 

Last Name

United States Bankruptcy Court for the: District of Maryland

Case number
(If known)

 

 

C) Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 1215

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

W No
QO) Yes
. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, Califomia, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
CL No. Go to line 3.

Q) Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
C3 No

U) Yes. In which community state or territory did you live? - Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on

Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Check all schedules that apply:
3.1
) Schedule D, line
Name
() Schedule E/F, line
Number Streat U2 Schedule G, line
City State ZIP Code
3.2
UL} Schedule D, line
Name
} Schedule E/F, line
Number Street O Schedule G, line
City . State _._ZIP Code |
3.3
O) Schedule D, line,
Name
QO) Schedule E/F, line
Number Street C1 Schedule G, line
City State ZIP Code

 

 

 

 

Official Form 106H Schedule H: Your Codebtors page 1of_
Debtor 1

 

Case 20-11603 Doc 1
BRANDON LEE NANCE

Filed 02/07/20 Page 34 of 59

Case number (i known)

 

First Name Middle Name Last Name

Additional Page to List More Codebtors

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
rz Check all schedules that apply:
3.

C) Schedule D, line
Name _—_
) Schedule E/F, fine
Number Street QO Schedule G, line
a elty _ State ZIP Code
S|
(2 Schedule D, line
Name
C) Schedule E/F, line
Number Street () Schedule G, line
CY co ccente e vumtus sn vnc ne State. __. ZIP Code
Q) Schedule D, line
Name
Q) Schedule E/F, line
Number Street QO) Schedule G, line
__ City State ZIP Code
|
QO) Schedule D, line
Name
C] Schedule E/F, line
Number Street QC) Schedule G, line
City State ZIP Code
C2) Schedule D, line
Name Se
QO) Schedule E/F, line
Number Street O) Schedule G, line
City State ZIP Code
— 5 QO Schedule D, line
ame
OQ) Schedule E/F, line
Number Street QO Schedule G, line
City State ZIP Code
— ) Schedule D, line
ame
() Schedule E/F, tine
Number Street QO) Schedule G, line
City State _ZIP Code
BJ
Q) Schedule D, line
Name
OQ Schedule E/F, line
Number Street OQ Schedule G, line
City State ZIP Code

 

Official Form 106H

Schedule H: Your Codebtors

page ___

of

 
Case 20-11603 Doc1 Filed 02/07/20 Page 35 of 59

Fillin this information to identify your case:

Debtor 4 BRANDON LEE NANCE

First Name Middle Name

 

Debtor 2
(Spouse, if filing} First Name Middle Name

 

United States Bankruptcy Court for the: District of Maryland

Case number Check if this is:
(if known)
CJ An amended filing

CJ A supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 My DDT YY”
Schedule I: Your Income 12115

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
if you are separated and your spouse is not filing with you, do not include information about your spouse. If more space Is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

4. Fillin your employment
- Information. Debtor 1 Debtor 2 or non-filing spouse

  

 

 

If you have more than one job,
attach a separate page with

information about additional Employment status C) Employed C) Employed
employers. M1 Not employed (J) Not employed
Include part-time, seasonal, or
self-employed work.

Occupation

 

Occupation may include student
or homemaker, if it applies.

Employer's name

 

Employer's address

 

Number Street Number Street

 

 

 

City State ZIP Code City State ZIP Code

How long employed there?

Give Details About Monthly income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. If you need more space, attach a separate sheet to this form.

 

For Debtor 1 For Debtor 2 or
non-filing spouse

2. List monthly gross wages, salary, and commissions (before all payroll

 

deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ 0.00 $
3, Estimate and list monthly overtime pay. 3. +§ 0.00 +
_ 4, Calculate gross income. Add line 2 + line 3, 4.7 § 0.00 $

 

 

 

 

 

 

Official Form 106i Schedule I: Your Income page 1

 
 

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Debtor 1 BRANDON LEE NANCE Case number (if known)
Firat Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
hon-filing spouse
Copy Fine 4 Were... cccecsssesssecsecsssesseeseeasssessesessesssesssesessscecsscsesusesssenseenees >4 § 0.00 $

5. List all payroll deductions:

 

 

 

 

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Social Security deductions Sa. $$ $
5b. Mandatory contributions for retirement plans 5b. § $
5c. Voluntary contributions for retirement plans 5c. §$ $
5d. Required repayments of retirement fund loans 5d. §$ $
5e. Insurance Se. § $
5f. Domestic support obligations 5f. $ $
5g. Union dues 5g. § $
5h. Other deductions. Specify: 5h. +$ + $
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e+5f+5g+5h. 6. $ $
_ 7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ $
monthly net income. 8a.
8b. Interest and dividends 8b. § $

 

8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive

Include alimony, spousal support, child support, maintenance, divorce $ $

 

 

 

 

 

 

 

 

 

 

 

 

 

settlement, and property settlement. 8c
8d. Unemployment compensation 8d. § $
8e. Social Security Be. § $
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: an $
8g. Pension or retirement income 8g. ¢ $
8h. Other monthly income. Specify: 8h. +$ +$
8. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + Bh. 9. $ $
10. Calculate monthly income. Add line 7 + line 9. + _
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $__ § nm

 

 

 

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

 

Specify: 11.% §$
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12 a

Combined
monthly income

 

_ 13.Do you expect an increase or decrease within the year after you file this form?

C2 No. NT
TRYING TO OBTAIN EMPLOYME
Wd Yes. Explain:

 

 

 

 

Official Form 1061 Schedule I: Your Income page 2
 

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Fill in this information to identify your case:

Debtor1 Brandon Lee Nance

First Name Middle Name

Debtor 2
(Spouse, if filing) First Name Middie Name

 

United States Bankruptcy Court for the: District of Maryland

Case number
(If known)

 

 

 

Official Form 106J
Schedule J: Your Expenses

 

Check if this is:

C) An amended filing

CL) A supplement showing postpetition chapter 13
expenses as of the following date:

MM / DD/ YYYY

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

REE vescrive Your Household

1. Is this a joint case?

Mi No. Go to tine 2.
CJ Yes. Does Debtor 2 live in a separate household?

 

 

 

 

 

 

 

 

U) No
C) Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents? UC] No
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and & Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent.............ccue O
Do not state the dependents’ daughter 12 r No
names. Yes
daughter 2 OI No
Yes
Q No
O Yes
C] No
C) Yes
CJ No
QC) Yes
3. Do your expenses include WI No

expenses of people other than
yourself and your dependents? 1 Yes

Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 1061.)

4. The rental or home ownership expenses for your residence. Include first mortgage payments and

any rent for the ground or lot.

if not included in line 4:
4a. Real estate taxes

4b. Property, homeowner's, or renter’s insurance
4c. Home maintenance, repair, and upkeep expenses

4d. Homeowner's association or condominium dues

Official Form 106J Schedule J: Your Expenses

4b.
4c.
4d.

 

Your expenses

$ 1000.00
§ 0.00
$ 0.00
$ 0.00
$ 0.00

‘page 1

 
 

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Debtor 1 Brandon Lee Nance

10.
11.

12.

13.
14.

15.

16.

17.

18.

19.

20.

 

First Name Middle Name Last Name

. Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, internet, satellite, and cable services

6d. Other. Specify:

 

. Food and housekeeping supplies

. Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify.dental insurance

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify: 0.00

17d. Other. Specify:

 

Case number (known)

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Your Income (Official Form 106)).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Official Form 106J Schedule J: Your Expenses

 

10.
11.

12.

13.
14.

15a.
15b.
15¢c.
15d.

16.

17a.
17b.
17c.

17d.

18.

19.

20b.

20c.

20d.
20e.

Your expenses

$

rf FFF Ff Ff Ff Ff HF HF

fr fF ff ARPA FTF HF

PAA GF &H

 

0.00

75.00
0.00
120.00

150.00

600.00
100.00
50.00
0.00

125.00

0.00
0.00

0.00
0.00

0.00
19.99

0.00

0.00
0.00
0.00
0.00

87.38

0.00

0.00

0.00
0.00
0.00

0.00

page 2

 
 

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Debtor 1 Brandon Lee Nance Case number (if known)

 

First Name Middle Name Last Name

21. Other. Specify:

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule I.
23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

C2 No.

 

21.

22a.

22b.

22c.

23a.

23b.

23c.

 

 

+5 0.00
BM

$ 332-4 39: Fees

$ 0.00

$ 1752.37

 

 

$ 0.00

 

 

$ -238) 139 -[pe2-87

 

 

 

Yes. | plan to decrease as many non essential expenses as possible.
ad Yes. | Explain here: P y P P

od

 

Official Form 106J Schedule J: Your Expenses

page 3

 
Case 20-11603 Doc 1

Fillin this information to identify your case:

Debtor 4 BRANDON LEE NANCE

 

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First Name Middie Name
Debtor 2

 

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Maryland

Case number
(If known)

 

 

  

es

O) Check # this is an

 

Official Form 106Dec

 

amended filing

Declaration About an Individual Debtor’s Schedules 12/15

If two married people are filing together, both are equally responsible for supplying correct Information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

Mf No

OC) Yes. Name of person

. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and

that they are true and c

x _(.

   

x

 

Signature of Debtor 1 Signature of Debtor 2

pate 02/06/2020

Se ON Date
MM/ OD / YYYY

MM/ DD / YYYY

 

Official Form 106Dec Declaration About an Individual Debtor's Schedules
Case 20-11603 Doc 1

Fill in this information to identify your case:

 

Debtor1 Brandon Lee

 

Debtor 2

 

Nance
First Name Middle Name Last Name
Middle Name Last Name

(Spouse, if filing) First Name

United States Bankruptcy Court for the: District of Maryland

Case number

 

{If known)

 

Official Form 107

 

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UI Check if this is an
amended filing

Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/19

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

C) Married
Mi Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

CO No

w Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1:

4501-G Eli Drive

Dates Debtor1 Debtor 2:
lived there

() same as Debtor 1

From 12/26/17

 

Number Street

Dates Debtor 2
lived there

U] same as Debtor 1

From

 

r 1/9/2020 Number Street
0

 

 

To

 

 

 

 

 

 

 

 

 

Owings Miils MD 21117
City State ZIP Code City State ZIP Code
QO Same as Debtor 1 Q Same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No

C] Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Ez Explain the Sources of Your Income

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

 
 

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Brandon Lee Nance
First Name Middle Name Last Name

 

Case number (i xown),

 

Official Form 107

 

Sources of income
Check all that apply.

From January 1 of current year until &4 wages, commissions,

the date you filed for bankruptcy: oO oem m
perating a business

. wi Wages, commissions,
For last calendar year: bonuses, tips
(January 1 to December 31,2019. _-)-~« C0. operating a business

wages, commissions,
bonuses, tips
(January 1 to December 31,2018 ) U2 operating a business
YYYY

For the calendar year before that:

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

 

Sources of Income
Describe beiow.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(before deductions and

Gross Income from

(before deductions and

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

CQ) No
Wi Yes. Fill in the details.

Sources of income
Check all that apply.

Q) Wages, commissions,
bonuses, tips

Q Operating a business

| Wages, commissions,
bonuses, tips

Q Operating a business

Ql Wages, commissions,
bonuses, tips

O Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

W No

Q] Yes. Fill in the details.

Sources of income
Describe below.

 

 

(January 1 to December 31,2019)
vvYY

 

For the calendar year before that:

 

 

(January 1 to December 31,2018 _ )
YYvY

 

Statement of Financial Affairs for Individuals Filing for Bankruptcy

(before deductions and

Gross income from

(before deductions and
Debtor1 Brandon
First Name

Lee

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Nance Case number (if known)

Middia Name Last Name

List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are elther Debtor 1's or Debtor 2’s debts primarily consumer debts?

© No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

CD No. Go to line 7.

Q) Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

4 Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

7] No. Go to line 7.

Q) Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attomey for this bankruptcy case.

Creditors Name

Dates of Total amount paid Amount you still owe
payment

 

Number

Street

 

 

City

State ZIP Code

 

Creditors Name

 

Number

Street

 

 

Clty

State ZIP Code

 

Creditors Name

 

Number

Street

 

 

City

State ZIP Code

Was this payment for...

Q Mortgage

O) car

OQ) credit card

QO Loan repayment

Ol Suppliers or vendors

Q Other

O Mortgage

C) car

OQ) credit card

C2) Loan repayment

QO Suppliers or vendors

U0 other

Q Mortgage

Q) car

OO) credit card

CI Loan repayment

QO Suppliers or vendors

U Other

 

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 3
Brandon
First Name

Debtor 1

 

Case 20-11603 Doc 1

Nance

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Case number (i known)

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

M No

O) Yes. List all payments to an insider.

 

 

 

 

 

 

 

 

Dates of Total amount Amount you still
payment pald owe

$ $
Insider's Name
Number Street
City State ZIP Code

$ $
Insider's Name
Number Street
City State ZIP Code

 

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?

Include payments on debts guaranteed or cosigned by an insider.

M4 No

C) Yes. List all payments that benefited an insider.

 

 

 

 

 

 

 

 

 

Dates of Total amount Amount you still
payment paid owe
Insider's Name $ $
Number Street
City State ZIP Code
$ $
Insider's Name
Number Street
City State _ ZIP Code

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Reason for this payment

Reason for this payment
Include creditor's name

 

 

page 4
 

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Debtor1 Brandon Lee Nance

Case number (if mown)
First Name Middle Name Lest Name

 

i identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party In any lawsult, court action, or administrative proceeding?

List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

M4 No

U] Yes. Fill in the details.

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case title Court Name Q Pending
UO on appeal
‘Number = Street O Concluded
Case number :
City State ZIP Code
Case title \Soul Name C) Pending
OC) on appeal
‘Number Street UI Concluded
Case number :
City State ZIP Code

Check all that apply and fill in the details below.

MW No. Goto line 11.
CJ Yes. Fill in the information below.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Describe the property Date Value of the property
- $
Creditor’s Name
Number Street Explain what happened
2 Property was repossessed.
(2 Property was foreclosed.
L] Property was garnished.
City State ZIP Code ) Property was attached, seized, or levied.
Describe the property Date Value of the property
$
Creditors Name
Number Street
Explain what happened
CL) Property was repossessed.
L) Property was foreclosed.
ay Sas TF Gols CQ Property was garnished.
Q) Property was attached, seized, or levied.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5
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Debtor 1 Brandon Lee Nance Case number (if mown),

 

 

 

First Name Middle Nama Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

Wi No

UI Yes. Fill in the details.

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditor’s Name
$
Number Street
City State ZIP Code Last 4 digits of account number: XXXX—_

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

Wi No
O Yes

List Certain Gifts and Contributions

 

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

| No
() Yes. Fill in the details for each gift.

 

 

 

 

 

 

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
_ $
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person a _ the gifts
: $
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
 

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Debtor 4 Brandon Lee Nance

Case number (if known)
First Name Middle Name Last Name

 

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

Wi No

CJ Yes. Fill in the details for each gift or contribution.

 

 

 

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
$
Charity'’s Name
$

 

 

Number Street

 

City State ZIP Code

eo List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

W No

(J Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred loss lost

inciude the amount that insurance has paid. List pending Insurance

claims on line 33 of Schedule A/B: Property.

 

 

 

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

WW No

CO) Yes. Fill in the details.

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid porno sie nnn nnn ee enn made
Number _ Sireet po §
$

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

 
 

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Debtor 1 Brandon Lee Nance Case number (i krown)

 

 

 

 

 

 

 

 

First Name Middle Name Last Name
Description and value of any property transferred Date payment or Amount of
transfer was made payment

Person Who Was Paid
$

Number Street
$

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

Wf No

UO) Yes. Fill in the details.

 

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
cone made
Person Who Was Paid :
Number Street §
$
City State ZIP Code

 

 

: 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).

Do not include gifts and transfers that you have already listed on this statement.

a No

Q) Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
transferred or debts pald In exchange was made

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

 

Person’s relationship to you

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

 

Person’s relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

 

 
Case 20-11603 Doc 1

Brandon Lee Nance

Debtor 1

 

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Case number (if mown)

 

First Name Middle Name Last Name

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

Mi No

LI Yes. Fill in the details.

Description and value of the property transferred

Name of trust

 

Date transfer

 

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

closed, sold, moved, or transferred?

 

 

 

 

 

 

 

 

City State ZIP Code

securities, cash, or other valuables?
| No
CQ) Yes. Fill in the details.

 

Who else had access to it?

No
WH Yes. Fill in the details.
Last 4 digits of account number — Type of account or Date account was
instrument closed, soid, moved,
or transferred
Wells Fargo Bank
Name of Financial Institution _ 0 0 8 4 wa Checking $
Number Street Q) Savings
QO Money market
QO Brokerage
City State ZIP Code OC other
Bank of America xxxx-_1 1 0 6 C) checking $
Name of Financial Institution
wi Savings
Number Street Q Money market
CQ] Brokerage
QO) other

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for

Describe the contents

 

Name of Financial institution

 

 

 

 

Name
Number Street Number Street
City State

 

 

City State ZIP Code

Official Form 107

 

ZIP Code

Statement of Financial Affairs for Individuals Filing for Bankruptcy

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

Last balance before
closing or transfer

-130.00

-50.00

Do you still
_ have It?

Ono
Yes

page 9

 
 

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Debtor 4 Brandon Lee Nance

Case number (i known)
First Name Middle Name Last Name

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No

Cd Yes. Fill in the details.

 

 

Who else has or had access to it? Describe the contents Do you still
' CINo
Name of Storage Facility Name : QO Yes
Number Street Number Street

 

CityState ZIP Code

 

City State ZIP Code

ea identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.

wf No
C2 Yes. Fill in the details.

 

 

 

 

 

 

 

 

Where Is the property? Describe the property Value
Owner's Name $
Number Street
Number Street
City State ZIP Code
City State ZIP Code

 

 

roe Give Details About Environmental information

For the purpose of Part 10, the following definitions apply:

a Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
Including statutes or regulations controlling the cleanup of these substances, wastes, or material.

m Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

= Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

. Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24,Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

Yi No

UJ Yes. Fill in the detalls.

 

 

 

 

 

Governmental unit _ Environmental law, if you know it Date of notice
Name of site Govemmental unit
Number Street Number Steet SSSCSCSCSCSS—<‘<‘( “i‘C;é;t;‘;<;SO!
Clty State ZIP Code

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10
 

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Debtor 1 Brandon Lee Nance
First Name Middle Name Last Name

Case number (if kiown)

 

25.Have you notified any governmental unit of any release of hazardous material?

Mi No

C2) Yes. Fill in the details.

 

 

 

 

 

 

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
i Number Street Number Suse
| =
City State ZIP Code
|
:

City State ZIP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

Wi No

C2 Yes. Fill in the details.

 

 

 

 

 

Court or agency Nature of the case Status of the
case
Case title
Court Name Q Pending
Ol on appeal
Number Street QO Concluded
Case number City TP Code

i Give Detalis About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
C) Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
CQ) Amember of a limited liability company (LLC) or limited llability partnership (LLP)
Qa partner in a partnership
() An officer, director, or managing executive of a corporation

 

©) An owner of at least 5% of the voting or equity securities of a corporation

Wi No. None of the above applies. Go to Part 12.
C) Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employer Identification number
_.. Do not include Social Security number or ITIN.

 

 

 

 

 

 

Business Namo i
/ EIN;
Number Street 1 ved
Name of accountant or bookkeeper Dates business existed
From To
City ~__ State ZIP Gode_ ___|

 

Employer Identification number
_. Do not Include Social Security number or ITIN.

Describe the nature of the business

 

 

Business Name

 

 

 

 

 

 

EIN:
Number Street ~ ~ ~
Name of accountant or bookkeeper Dates business existed
From To
City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11
 

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Debtor 1 Brandon Lee Nance Case number (i known)
First Name Middle Name Last Name

 

 

Employer Identification number
_ Do not include Social Security number or [TIN.

Describe the nature of the business

 

 

 

 

 

Business Name
er
Number Street Name of accountant or bookkeeper Dates business existed
_ From To
City State ZIP Code :

 

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

MW No

C) Yes. Fill in the detalis below.

Date Issued

 

Name MM/DD/YYYY _

 

Number Street

 

 

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 151

  
  

x x

 

 

Signature of E Debtor 1 Signature of Debtor 2
Date 1/22/2020 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

WM No

CQ) Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

MW No

C) Yes. Name of person. . Attach the Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119).

 

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12
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United States Bankruptcy Court
District of Maryland

‘InRe: Lorch lee lance

Debtor(s)

Case Number:

Chapter:

 

VERIFICATION OF CREDITOR MATRIX

The'above named Debtors hereby verify that the attached list of creditors is true and correct to the best of their.

knowledge.

Date: A/F [20 oe | Signature of Debtor(s): ny
. ‘ S$,

 

 

 

 
 

Case 20-448 03a. eaScrionel@dO2/07/20 Page 54 of 59

300 W PRESTON ST
BALTIMORE, MD 21201

CCS COLLECTIONS
725 CANTON ST
NORWOOD, MA 02062

COMCAST CABLE/XFINITY
ATTN LEGAL DEPT

8029 CORPORATE DRIVE
WHITE MARSH, MD 21236

SPRINT

ATTN: LEGAL DEPT

PO BOX 4191

CAROL STREAM, IL 60197-4191

PROGRESSIVE
6300 WILSON MILLS RD
MAYFIELD VILLAGE, OH 44143

MORNINGSIDE HEIGHTS
106 PLEASANT RIGE DRIVE
OWINGS MILLS, MD 21117

NATIONAL CREDIT AUDIT CO
12770 COIT RD SUITE 1000
DALLAS, TX 75251

NTL RECOVERY AGENCY
2491 PAXTON STREET
HARRISBURG, PA 17111

AMERICAN RADIOLOGY

ATTN: BILLING DEPT

2080 YORK ROAD
LUTHERVILLE-TIMONIUM, MD 21093

ENHANCED RECOVERY CORP
8014 BAY BERRY RD
JACKSONVILLE, FL 32256-7412
MIDWEST, E Lc .
14 We ase SOTBES Doc1 Filed 02/07/20
EART CITY, MO 63045

CREDIT COLLECTIONS SERVICES
725 CANTON STREET
NORWOOD, MA 02062

AUTO TRAKK, LLC
1500 SYCAMORE ROAD, SUITE 200
MONTOURSVILLE PA 17754

MURN MANAGEMENT, LLC
8820 COLUMBIA 100 PKWY
SUITE430

COLUMBIA, MD 21045-2175

AT&T
PO BOX 536216
ATLANTA GA 30353

SOURCE RECEIVABLES MANAGEMENT
4615 DUNDAS DRIVE

SUITE 102

GREENSBORO NC 27407

PNC BANK

300 FIFTH AVENUE

THE TOWER AT PNC PLAZA
PITTSBURGH, PA 15222

BB&T

ATT; CREDIT DEPT
PO BOX 1847
WILSON NC 27894

CONTINENTAL FINANCE COMPANY LLC
PO BOX 3220
BUFFALO, NY 14240-3220

PROGRESSIVE LEASING
5651 W TALAVI BLVD
GLENDALE, AZ 85306

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Case 20- La PRusT a Rix!

 

PO BOX 85024
RICHMOND, VA 23285-5024

NAVY FEDERAL CREDIT UNION
820 FOLLIN LANE

VIENNA, VA 22180

City, ST ZIP Code

CAPITAL ONE BANK

PO BOX 30281

SALT LAKE CITY, UT 84130
City, ST ZIP Code

MURN MANAGEMENT, LLC

8820 COLUMBIA 100 PKWY

SUITE430

COLUMBIA, MD 21045-2175

GEICO

REMITTANCE CENTER

ONE GEICO PLAZA
BETHESDA, MD 20810-0001

THE BANK OF MISSOURI
5109 S BROADBAND LANE
SIOUX FALLS, SD 57109

MORGAN PROPERTIES
160 CLUBHOUSE RD
KING OF PRUSSIA, PA 19406

COMMONWEALTH FINANCIAL SYSTEMS
245 MAIN STREET

DICKSON CITY, PA 18519

ATTN: BANKRUPTCY DEPT

R&R PROFESSIONAL RECOVERY
1498 REISTERSTOWN RD
PIKESVILLE, MD 21208

CHEX SYSTEMS INC

7805 HUDSON RD

SUITE 100

WOODBURY, MN 55125-1703

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Case 20-11603 Doc1 Filed 02/07/20 Page 57 of SfirsT PREMIER BANK
3820 N LOUISE AVE

SIOUX FALLS, SD 57107

FAIR COLLECTIONS AND OUTSOURCING
12304 BALTIMORE AVENUE

SUITE E

BELTSVILLE, MD 20705

VERIZON WIRELESS — SOUTH
NATIONAL RECOVERY OPERATIONS
PO BOX 26055

MINNEAPOLIS, MN 55426

TBOM- MILESTOBE
216 W 2"? STREET
DIXON, MO 65469

RECEIVABLES MANAGEMENT CORP
1601 Shop Road, Suite D
COLUMBIA, SC 29201

SUNRISE CREDIT SERVICE
260 AIRPORT PLAZA BLVD
: . FARMINGDALE, NY 11735

, , PATIENT FIRST
ATTN; PATIENT ACCOUNTS
5000 COX ROAD
GLEN ALLEN, VA 23060

WELLS FARGO BANK
420 MONTGOMERY STREET
SAN FRANCISCO, CA 94104

TOTAL VISA
PO BOX 85710
SIOUX FALLS, SD 57118-5710

STRAYER UNIVERSITY

9920 FRANKLIN SQUARE DRIVE
SUITE 200

BALTIMORE MD 21236

 

 
NK OF AMERICA
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TAMPA, FL 33622-5118

BRIDGECREST ACCEPTANCE
PO BOX 29018

PHOENIX, AZ 85038

City, ST ZIP Code

BGE
PO BOX 1475
BALTIMORE, MD 21203

VERIZON

500 TECHNOLOGY DR

SUITE 300

WELDON SPRING, MO 63304

THE TIME GROUP
701 CATHEDRAL STREET
BALTIMORE, MD 21201

ALLSTATE INSURANCE CO
PO BOX 660598
DALLAS, TX 75266-0596

PATIENT FIRST

ATTN; PATIENT ACCOUNTS
5000 COX ROAD

GLEN ALLEN, VA 23060

CREDIT COLLECTION SERVICES
PO BOX 607
NORWOOD, MA 02062

‘ RANDALL EMERGENCY PHYSICIANS
~ m . 5401 OLD COURT ROAD
RANDALLSTOWN, MD 21133
ATTN: BILLING DEPT

RADCARE MARYLAND
2401 W BELVEDERE AVE
BALTIMORE, MD 21215
ATTN: BILLING DEPT

 
 

 

Case 20-11603 Doc1 Filed 02/07/20 Page 59 aM@ARK ONE FINANCIAL LLC
PO BOX 935114
ATLANTA , GA 31193-5114

DIVERSIFIED CONSULTANTS INC
PO BOX 679543
DALLAS TX 75267-9543

ALLY FINANCIAL INC
PO BOX 380901
BLOOMINGTON, MN 55438

DEVILLE ASSET MANAGEMENT LTD
PO BOX 1987
COLLEYVILLE, TX 76034

MARINER FINANCE LLC
5802 E VIRGINIA BEACH BLVD
NORFOLK, VA 23502

WESTLAKE FINANCIAL
SERVICES

‘ . 4751 WILSHIRE BLVD
LOS ANGELES, CA 90010

, ENHANCED RECOVERY CO LLC
PO BOX 57547
JACKSONVILLE, FL 32241

TD BANK, NA

BANKRUPTCY DEPT

PO BOX 9547

PORTLAND, MR 04112-9547

CELTIC BANK
268 SOUTH STATE STREET, SUITE 300
SALT LAKE CITY, UT 84111

SNAP FINANCE
PO BOX 26561
SALT LAKE CITY, UT 84126
